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                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          AUG 26 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
YITZCHOK FRANKEL; et al.,                        No. 24-5003
                                                 D.C. No.
             Plaintiffs - Appellees,             2:24-cv-04702-MCS-PD
                                                 Central District of California,
 v.                                              Los Angeles
REGENTS OF THE UNIVERSITY OF                     ORDER
CALIFORNIA; et al.,

             Defendants - Appellants.

       Appellants’ motion (Docket Entry No. 3) for voluntary dismissal is granted.

This case is dismissed. Fed. R. App. P. 42(b).

      This order served on the district court acts as the mandate of this court.


                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT
